Case 3:22-cr-00426-JSC Document 49-1 Filed 07/12/23 Page 1 of 6




            EXHIBIT A
7/12/23, 11:57 AM             Case 3:22-cr-00426-JSCPaulDocument         49-1 David
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                                                                                    DePape           Page 2 of 6
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   BAY AREA


   ICE wants to deport Pelosi attack suspect to Canada. D.A. Brooke Jenkins says S.F.
   won’t turn him over
            Rachel Swan

            Updated: Nov. 3, 2022 7:17 p.m.




        David Depape could face deportation after his criminal cases wrap up in San Francisco.
        Michael Short




   UPDATE:: Nancy Pelosi to give televised interview on S.F. attack.
   UPDATE                                                    attack.


   Officials from the U.S. Department of Homeland Security want to deport the man accused of bludgeoning U.S. Speaker Nancy
   Pelosi’s husband with a hammer, but District Attorney Brooke Jenkins said Thursday that she will refuse to turn him over,
   citing San Francisco’s sanctuary city policies.


   The announcement by federal immigration authorities that they had placed an immigration detainer on David DePape, a
   Canadian citizen now incarcerated in San Francisco County Jail, was the latest jolt in a story that’s gripped the nation. Now, it’s
   become a test of San Francisco’s sanctuary city laws, which bar city departments and leaders from helping immigration
   officials with detentions or deportations.


      Paul Pelosi attack:
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                                                                                DePape.




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7/12/23, 11:57 AM       Case 3:22-cr-00426-JSCPaulDocument         49-1 David
                                                   Pelosi attack: Suspect Filed 07/12/23
                                                                              DePape           Page 3 of 6
                                                                                     could be deported

   “San Francisco is a sanctuary city and our policy is sacred,” Jenkins said in a statement, hours after U.S. Immigration and
   Customs Enforcement publicly disclosed the hold on DePape, 42, who was arrested and accused of a home invasion, assault
   and bizarre kidnapping plot.


   If local law enforcement were to comply with the ICE hold, they would turn DePape over to the federal agency to possibly be
   shipped back to Canada after his criminal cases wrap up in San Francisco. But Jenkins was adamant that won’t happen.


   “We will not be collaborating or coordinating with ICE,” the district attorney maintained.



                                                           Paul Pelosi Attack

   • ‘Where’s Nancy?’: Here’s what happened, minute by minute, inside the Pelosi home


   • What we know about David DePape, man accused of attacking Paul Pelosi


   • Ex-girlfriend of suspect says he struggled with mental illness, drugs


   • Paul Pelosi’s secret 911 call — and an alert S.F. dispatcher — may have saved his life




   A spokesperson for the Sheriff’s Office was more cautious, however, stating that the sheriff “reviews ICE requests on a case-by-
   case basis to determine whether informing ICE of Mr. DePape’s release date, if any, is consistent with our local sanctuary city
   ordinances.”


   “The Sheriff will evaluate all information, up to the time of any release date, before making that decision,” spokesperson Kelvin
   Wu said, noting that the detainer only comes into play if DePape is released from jail.


   Asserting that sanctuary city laws build trust between the community and law enforcement, Jenkins concluded that any
   deportation discussions “are moot” anyway, because she is confident prosecutors will convict DePape.
                                                                                                DePape. Based on the charges her
   office filed, “Mr. DePape is facing life in prison,” Jenkins said.


   DePape faces an array of felony charges in San Francisco and federal court, for attempted murder, assault and attempted
   kidnapping, among other crimes. The parallel cases stem from a chilling incident just after 2 a.m. Friday, when he allegedly
   broke into the Pelosis’ Pacific Heights home seeking to take Nancy Pelosi hostage, but instead found 82-year-old Paul Pelosi
   asleep in the couple’s bedroom.


   According to Homeland Security records, DePape arrived in the U.S. as a temporary visitor on March 8, 2008, at San Ysidro
   Land Port of Entry, a border between San Diego and Tijuana.


   Canadian travelers ostensibly visiting the U.S. for business or pleasure are allowed to stay six months, generally without a visa,
   under U.S. immigration laws.


   ICE places immigration holds on people arrested on criminal charges, whom agency officials believe they can deport under the
   Immigration and Nationality Act. In lodging the detainer, agency officials request that local law enforcement alert ICE before


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7/12/23, 11:57 AM          Case 3:22-cr-00426-JSCPaulDocument         49-1 David
                                                      Pelosi attack: Suspect Filed 07/12/23
                                                                                 DePape           Page 4 of 6
                                                                                        could be deported

   releasing the person from custody, so immigration officers can seize the person for transfer to an ICE facility.


   DePape’s wandering history traces back to British Columbia, where he was born and spent at least part of his childhood living
   with stepparents, said Teresa DePape, the wife of DePape’s stepfather. After finishing high school, DePape evidently grew
   restless, relatives said, prompting him to migrate first to Hawaii and then the Bay Area.


   Voting records in San Francisco show DePape registered as a member of the Green Party in 2002, signing a declaration under
   penalty of perjury that he was a U.S. citizen, according to a registration affidavit released by Department of Elections Director
   John Arntz.


   The California elections code states that if a person signs such an affidavit, it “shall be deemed evidence of citizenship for
   voting purposes only.”


   Teresa DePape said she believed he may at one point have married a U.S. citizen, though much of his past remains fuzzy.


   In the early 2000s he seemed to embrace liberal politics, dabbled in a fringe movement for public nudity, and had an ongoing
   romantic relationship with high-profile nudity advocate Oxane “Gypsy” Taub.
                                                                         Taub.


   DePape gravitated to the right wing in recent years, ultimately becoming infatuated with online conspiracy theories and
   posting to blogs that seemed to have no audience. His apparent delusions — and a warped sense of patriotic duty— ultimately
   led DePape to Pelosi’s back door, investigators said.


   He later allegedly told investigators he intended to take the speaker hostage and interrogate her, breaking her kneecaps if she
   lied. But Pelosi was out of town and DePape encountered her startled husband, who retreated to a bathroom and
   surreptitiously called 911, according to official accounts.


   Police arrived in time to see the two men struggling over a hammer, which DePape allegedly seized and used to strike Pelosi
   unconscious before officers tackled him.


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             Rachel Swan


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   Rachel Swan is a breaking news and enterprise reporter. She joined the Chronicle in 2015 after stints at several alt weekly newspapers. Born in Berkeley, she graduated
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7/12/23, 11:57 AM           Case 3:22-cr-00426-JSCPaulDocument         49-1 David
                                                       Pelosi attack: Suspect Filed 07/12/23
                                                                                  DePape           Page 5 of 6
                                                                                         could be deported




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https://www.sfchronicle.com/bayarea/article/paul-pelosi-attack-suspect-david-depape-could-be-17556136.php              4/5
7/12/23, 11:57 AM                   Case 3:22-cr-00426-JSCPaulDocument         49-1 David
                                                               Pelosi attack: Suspect Filed 07/12/23
                                                                                          DePape           Page 6 of 6
                                                                                                 could be deported
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